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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
  LAURA LEE JACOBSON,
                                                                           CIVIL ACTION NO.
                               Plaintiff,
                                                                           16-CV-4809(LDH)(RML)
                       -against-

  KINGS COUNTY DEMOCRATIC COUNTY COMM ITTEE;
  JUDICIAL SCREENING COMMITTEE FOR THE DEMOCRATIC
  PARTY IN AND FOR KINGS COUNTY; Hon. FRANK R.
  SEDDIO Indi vidually and in His Official and Representative
  Capacity as County Chair of the Kings County Democratic County
  Committee; MARTIN W. EDELMAN Individually and in His
  Official and Representati ve Capacity as Chairperson of the Jud icial
  Screening Committee for the Democratic Party in and for Kings
  County; STEVEN R. FINKELSTEIN; STEVE DECKER;
  ABA YO MI O. AJA IY EOBA; and, JO HN AND JANE DOES ## 1-
  20, so named as their identities are not yet known, intended to
  represent persons who had access to confidential infonnation and/or
  records of candidate-Jacobson' s screening and results by Judicial
  Screening Committee for the Democratic Party in and for Kings
  County pertaining to plaintiff, who disclosed such materia ls outside
  of Judicial Screening Committee for the Democratic Party in and for
  Kings County to Seddio, Kings County Democratic Coun ty
  Committee, Kings County Democratic County Co mmittee's media
  consultant George A rtz, and inter alia, members of the public and the
  media, including. the New York Post,

                              Defendants.


            PLAI NTIFFS ' OBJECTIO NS TO DEFENDANTS' BILL OF COSTS


        Pursuant to Local Civ. R. 54. I (b), plaintiff Laura Lee Jacobson respectfully submits

 these timely objections to the October 21, 2019 Bill of Costs and attachments submitted by

 defendants Abayomi 0 Ajaiyeoba, Steve Decker, Martin W. Edelman, Steven R. Finkelstein,
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 and Judicial Screening Committee for the Democratic Party in and for Kings County. (Dkt.

 47- 47. 1).

         The Bill of Costs seeks $283.56 for what the defendants contend are "[f]ees for

 printed or electronicall y recorded transcripts necessarily obtained for use in the case." (Dkt.

 47). The entirety of these transcripts consists of co lloquy at two pre-motion conferences

 concerning the defendants' then intended motions to di smiss the plaintiffs complaint.

         There was no pre-trial di scovery or any tria l in this action. Rather, the defendants

 made motions to dismiss which were granted in an order of the Honorab le LaShann DeArey

 Hall, U.S.D.! . entered September 29, 2018. (Dkt. 43).

         In the Eastern District of New York, "[t]he cost ofa transcript of Court proceedings

 prior to or subsequent to trial is taxable only when authorized in advance or ordered by the

 Court." Local Civ. R. 54. I(c)(l). Here, both transcripts were of proceedings that would

 necessarily be "'prior to" trial, there was no authorization for taxation nor an order compelling

 the defendants to secure either, or both, of the transcripts.

         While there was an appeal, the onl y transcripts taxable for use on appeal without

 preauthorization by court order are "any part of the original trial transcript that was

 necessarily obtained for use in this Court or on appeal[.]" Local Civ. R. 54. 1(c)(I) (emphasis

 added). The transcripts at issue are not part of any trial transcript. Moreover, the defendants

 did not havc to secure any transcripts for usc on thc appca l as it was thc plaintiff who

 prepared the Appellate Appendix, which included the transcripts because co-defendants


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 Kings County Democratic County Committee and Frank R. Seddio exhibited them to their

 motion to dismiss.

        Here, the "' Defendants did not seek or obtain advance approval for the cost of

 securing the transcript, nor was there a Court order directing that the transcript be obtained. '

 Accordingly, costs for the pretrial conference transcripts are not allowed." Portelos v City

 o/New York, 2018 US Dist LEXIS 199722, at *8-9 (E.D.N. Y. Nov. 21,2018),), report and

 recommendation adopted mas modified on other grounds, Porte/os v City of New York.

  12-cv-03141 (LDH)(YMS) (Dk!. 170) (E.D.N.Y. Mar. 15, 2019), quoting Burchette v.

 Abercrombie & Fitch Stores, lI1C., 20 I 0 U.S . Dis!. LEXIS 99551 (S.D.N. Y. Sep!. 22, 201 0).

 Accordingly, no costs are properly taxed against the plaintiff.

        WHEREFORE, it is respectfully submitted that the relief sought by the October 21,

 2019 Bill of Costs by defendants Abayomi 0 Ajaiyeoba, Steve Decker, Martin W Edelman,

 Steven R Finkelstein, and Judicial Screening Committee for the Democratic Party in and for

 Kings County should be denied in its entirety.

 Dated: October 22, 2019
        New York, New York
                                                            Respectfully submitted,
                                                            THE LAW FIRM OF R AVI BATRA, P. C.


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